




NO. 07-04-0052-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 18, 2004



______________________________





LUCIO ROMAN CARRASCO, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 251ST DISTRICT COURT OF POTTER COUNTY;



NO. 46,805-C; HONORABLE PATRICK A. PIRTLE, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant Lucio Roman Carrasco appeals a conviction for possession of a controlled substance with intent to deliver. &nbsp;We dismiss for want of jurisdiction.





BACKGROUND

Appellant pled guilty to the charge of possession of a controlled substance with intent to deliver. &nbsp;Sentence was imposed on December 1, 2003. &nbsp;He did not file a motion for new trial. &nbsp;Notice of appeal was filed on February 6, 2004. &nbsp;

LAW

In a criminal case, appeal is perfected by timely filing a notice of appeal. &nbsp;
Tex. R. App. P.
 25.2(b). &nbsp;The notice of appeal must be filed within 30 days after the day sentence is imposed or after the day the trial court enters an appealable order, unless a timely motion for new trial is filed. 
TRAP
 &nbsp;26.2(a). &nbsp;The time for filing a notice of appeal may be extended for 15 days under certain circumstances. 
TRAP
 26.3. &nbsp;If the time for filing a notice of appeal is to be extended, both a notice of appeal and a motion for extension of time which complies with TRAP 10.5(b) must be filed within the 15 day period. &nbsp;TRAP 26.3; &nbsp;
Olivo v. State
, 918 S.W.2d 519, 523-25 (Tex.Crim.App. 1996). &nbsp;

An untimely-filed notice of appeal will not invoke the jurisdiction of the court of appeals. &nbsp;
See
 
State v. Riewe
, 13 S.W.2d 408, 411 (Tex.Crim.App. 2000). &nbsp;Thus, if an appeal is not timely perfected, a court of appeals does not have jurisdiction to address the merits of the appeal, and can take no action other than to dismiss the appeal. &nbsp;
Slaton v. State
, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998); 
Olivo
, 918 S.W.2d at 523-25.





ANALYSIS AND CONCLUSION

Appellant’s notice of appeal was not timely filed. &nbsp;A motion to extend time to file the notice of appeal was not filed. &nbsp;Accordingly, this court does not have jurisdiction over the appeal. &nbsp;
Slaton
, 981 S.W.2d at 210; 
Olivo
, 918 S.W.2d at 523. &nbsp;

The appeal is dismissed for want of jurisdiction. &nbsp;
Tex. R. App. P
. 39.8, 40.2, 43.2. 



Phil Johnson

Chief Justice







Do not publish.


